

Sudit v Schapiro (2020 NY Slip Op 02088)





Sudit v Schapiro


2020 NY Slip Op 02088


Decided on March 25, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 25, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

LEONARD B. AUSTIN, J.P.
SHERI S. ROMAN
JOSEPH J. MALTESE
HECTOR D. LASALLE, JJ.


2016-12916
 (Index No. 29209/05)

[*1]Vladimir Sudit, etc., appellant, 
vSchneuer Z. Schapiro, et al., respondents, et al., defendants.


Solomon Rosengarten, Brooklyn, NY, for appellant.
DelBello Donnellan Weingarten Wise &amp; Wiederkehr, LLP, White Plains, NY (Lee S. Wiederkehr, Michael J. Schwarz, and Eric Mandell of counsel), for respondents.



DECISION &amp; ORDER
In an action to foreclose a mortgage, the plaintiff appeals from an order of the Supreme Court, Kings County (Mark I. Partnow, J.), dated September 21, 2016. The order granted the motion of the defendants Schneuer Z. Schapiro, Chana Schapiro, and Wells Fargo Bank for summary judgment dismissing the amended complaint insofar as asserted against them.
ORDERED that the order is affirmed, with costs.
For the reasons stated in Sudit v Eliav ( ___ AD3d ___ [decided herewith]), the order is affirmed.
AUSTIN, J.P., ROMAN, MALTESE and LASALLE, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








